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 8                             UNITED STATES DISTRICT COURT
 9                         NORTHERN DISTRICT OF CALIFORNIA
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12   DELORIS ROBBIE HURTADO, an               Case No.: 4:22-cv-02762-HSG
     individual,
13                                            Hon. Haywood S. Gilliam, Jr.
                  Plaintiff,
14
         v.                                   ORDER FOR DISMISSAL WITH
15
                                              PREJUDICE
     GRACIETT G. SERPA, Successor
16   Trustee of The Amadeu D. and Rosa G.
     Carvalho Revocable Living Trust, dated   Action Filed: May 10, 2022
17   8/24/1987, Trust A; and Does 1-10,       Trial Date: Not on Calendar
18                Defendants.
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                           ORDER FOR DISMISSAL WITH PREJUDICE
              Case 4:22-cv-02762-HSG Document 15 Filed 10/11/22 Page 2 of 2



 1         Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
 2   it, and being fully advised finds as follows:
 3         IT IS ORDERED THAT:
 4         Plaintiff Deloris Robbie Hurtado’s action against Defendant Graciett G. Serpa,
 5   Successor Trustee of The Amadeu D. and Rosa G. Carvalho Revocable Living Trust,
 6   dated 8/24/1987 is dismissed with prejudice. Each party will be responsible for its own
 7   fees and costs.
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     Dated:            10/11/2022
13                                                      Hon. Haywood S. Gilliam, Jr.
                                                        United States District Judge
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                           ORDER FOR DISMISSAL WITH PREJUDICE
